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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

YUNG LE,                                        §
                                                §
        Plaintiff,                              §
                                                §
v.                                              §    Civil Action No. 4:24-cv-00031-O
                                                §
LOCKHEED MARTIN CORP.,                          §
                                                §
        Defendant.                              §

                                             ORDER

        Before the Court are Plaintiff Yung Le’s (“Le”) Motion to Compel (“Motion”) (EC No.

16); Defendant Lockheed Martin Corp’s (“LHM”) Response and appendix in support (ECF Nos.

26-27); and the parties’ Joint Status Report (ECF No. 31). United States District Judge Reed

O’Connor referred the Motion to the undersigned on January 25, 2024. The undersigned conducted

a hearing on this matter yesterday. After considering the pleadings, status report, applicable legal

authorities, and arguments at the hearing, the Court GRANTS the Motion (ECF No. 16) in part

and DENIES it in part.

        1.      Interrogatory No. 12 asks for LHM’s net worth, which Le argues is relevant because

he seeks punitive damages. ECF No. 16 at 2-3. LHM objected to this interrogatory as irrelevant

(among other things), but, as Le correctly argues, courts have consistently ordered discovery of

the defendant’s net worth where punitive damages are sought. ECF No. 16 at 3 (collecting cases);

see also, e.g., Ellison v. Patterson-UTI Drilling Co., LLC, No. CIV.A. V-08-67, 2009 WL

3247193, at *3 (S.D. Tex. Sept. 23, 2009); Ferko v. Nat'l Ass'n for Stock Car Auto Racing, Inc.,

218 F.R.D. 125, 137 (E.D. Tex. 2003) (citing City of Newport v. Fact Concerts, Inc., 453 U.S. 247,

270 (1981) (“evidence of a [defendant]’s wealth is traditionally admissible as a measure of the

amount of punitive damages that should be awarded”)); Bounds v. Cap. Area Fam. Violence
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Intervention Ctr., Inc., No. CA 14-802-JJB-RLB, 2016 WL 1089266, at *7 (M.D. La. Mar. 18,

2016) (collecting cases). Here, Le seeks punitive damages, so the Court finds that LHM’s net worth

is relevant.

        LHM’s Response does not dispute Interrogatory No. 12’s relevance but argues that by

producing its 2021 and 2022 Annual Reports (“Annual Reports”), it fully responded to

Interrogatory No. 12, because all of its financial information for those years “can be gleaned from

[those] reports.” ECF No. 26 at 8-9. Further, it recommends that Le “retain an expert to explain”

the figures in the Annual Reports. ECF No. 31 at 4. Federal Rule of Civil Procedure 33(d) provides

in pertinent part:

                If the answer to an interrogatory may be determined by examining,
                auditing, compiling, abstracting, or summarizing a party's business
                records . . . and if the burden of deriving or ascertaining the answer
                will be substantially the same for either party, the responding party
                may answer by . . . specifying the records that must be reviewed, in
                sufficient detail to enable the interrogating party to locate and
                identify them as readily as the responding party could[.]

Fed. R. Civ. P. 33(d)(1). When relying on Rule 33(d) in an interrogatory answer, “an answering

party must specify the information that the requesting party should review in sufficient detail to

enable the requesting party to locate and identify the information in the documents at least as

readily as an answering party could.” VeroBlue Farms USA Inc. v. Wulf, No. 3:19-CV-764-X,

2021 WL 5176839, at *27 (N.D. Tex. Nov. 8, 2021) (cleaned up) (quoting Lopez v. Don Herring

Ltd., 327 F.R.D. 567, 579 (N.D. Tex. 2018)).

        The Court finds that LHM’s answer is unsatisfactory under Rule 33(d), as the Annual

Reports do not “enable [Le] to locate and identify” LHM’s net worth “at least as readily as [LHM]

could.” VeroBlue Farms USA Inc., 2021 WL 5176839, at *27 (“[The defendant] has not adequately

responded to the question regarding his and his wife's net worth by pointing to tax returns[.]”); see

also Jackson v. Union Pac. R.R. Co., No. 419CV00069RGERAW, 2020 WL 11025591, at *4-5
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(S.D. Iowa Mar. 18, 2020) (Where a publicly-held defendant directed the plaintiff to its public

filings in answer to the plaintiff’s net worth interrogatory, the court denied the motion to compel

“conditionally and without prejudice[:] If by the close of discovery parties are unable to stipulate

[defendant’s net worth,]. . . [the plaintiff]’s seasonably renewed motion may require a

supplemental answer directing [the defendant] to identify its net worth[.]”). Indeed, LHM’s

recommendation that Le hire an expert to help ascertain its net worth from the Annual Reports

suggests as much. ECF No. 31 at 4.

       LHM argues that Le’s cited authorities are inapposite because they involve defendants that

(1) were not publicly traded companies and (2) did not produce their annual reports in discovery.

ECF No. 26 at 9. LHM is correct that the cases Le cited concerned the question of whether the

defendant’s net worth was relevant and discoverable at all. See Smith v. DeTar Hosp. LLC, No.

CIV.A. V-10-83, 2011 WL 6217497, at *8 (S.D. Tex. Dec. 14, 2011); Regions Ins., Inc. v. Alliant

Ins. Servs., Inc., No. 3:13-CV-667-HTW-LRA, 2015 WL 1886852, at *7 (S.D. Miss. Apr. 24,

2015); Ferko, 218 F.R.D. at 137-38; Sullivan v. Schlumberger Ltd., No. 4:20-CV-00662, 2021 WL

3206778, at *4 (E.D. Tex. July 29, 2021). But this has no bearing on whether LHM’s answer

satisfies Rule 33(d).

       Also, LHM argued at yesterday’s hearing that it could not characterize the Total Equity

(Deficit) entry from the 2021 Annual Report as its net worth, in part because “net worth” is an

amorphous term. See also ECF No. 31 at 4. But the “Court finds that the term ‘net worth’ is not

too vague or indefinite.” Ellison v. Patterson-UTI Drilling Co., LLC, No. CIV.A. V-08-67, 2009

WL 3247193, at *3 (S.D. Tex. Sept. 23, 2009); see also Jackson, 2020 WL 11025591, at *5 (“‘Net

worth’ is not vague[, and] . . . [i]n the scheme of things, this is a relatively minor issue counsel

should be able to resolve.”); McVay v. Halliburton Energy Servs. Inc., No. 3:07-CV-1101-O, 2010



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WL 11583175, at *3 (N.D. Tex. June 18, 2010) (“Net worth is calculated by subtracting assets less

liabilities.”) (O’Connor, J.).

        Accordingly, the Court OVERRULES LHM’s objections to Interrogatory No. 12. LHM

SHALL SUPPLEMENT its answer to Interrogatory No. 12 to specifically identify its net worth.

        2.      Request For Production (“RFP”) Nos. 30-31 seek production of all documents and

correspondence that mention or refer to any complaints or suits, including arbitration, that involve

discrimination on the basis of race, age, or gender, filed by LHM’s employees over the past ten

years. ECF NO. 16 at 3-4. Le’s suit asserts age and race discrimination, so complaints and suits

involving age and race discrimination are relevant. Le argues that gender discrimination

complaints also are relevant because LHM “asserts a gender discrimination complaint against [Le]

as pretext for [Le]’s termination, making other prior gender discrimination and retaliation

complaints relevant.” ECF No. 16 at 5. The Court finds that only prior complaints and suits

involving age and race discrimination are relevant, and it further finds that under these facts,

production of documents from a ten-year time period across the entire company is not proportional

to the needs of the case considering the factors set out in Federal Rule of Civil Procedure 26(b)(1).

Accordingly, the Court OVERRULES in part and SUSTAINS in part LHM’s objections to RFP

Nos. 30-31. LHM SHALL PROVIDE all responsive documents in its possession and control

pertinent to these RFPs for all age and race, but not gender, discrimination complaints and lawsuits,

for the past five years only involving its offices and facilities in Texas.

        3.      RFP Nos. 2 and 22-23 seek all communications, including documents, memoranda,

letters, or correspondence, that mention or refer to Le. ECF No. 16 at 9-10. Le proposed two

limitations to the request, but LHM rejected both as overly burdensome. ECF No. 26 at 17-18. The

Court recognizes the burdensome nature of these requests, but it also recognizes the importance of



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this information to Le’s case. Accordingly, the Court OVERRULES in part and SUSTAINS in

part LHM’s objections to RFP Nos. 2 and 22-23. LHM SHALL PROVIDE all responsive

documents in its possession and control pertinent to these RFPs, limited in accordance with Le’s

“Second Proposal to Limit the Request” (as described in ECF No. 31 at 3 and ECF No. 16 at 11),

except that LHM SHALL only PROVIDE the communications of Randy Howard, Tara Lause,

Janelle Spintig, Kaci Dobbs, Erin Mosley, and Ana Wugofski.

       4.      RFP Nos. 3-6 ask for the personnel files for Randy Howard, employees within Le’s

department, Le’s supervisors, as well as “all disciplinary documents created by” LHM. ECF No.

16 at 11-13. The Court finds these RFPs overly broad as they are currently phrased. Accordingly,

the Court OVERRULES in part and SUSTAINS in part LHM’s objections to RFP Nos. 3-6.

LHM SHALL PROVIDE all responsive documents in its possession and control pertinent to these

RFPs, limited to those documents which involve adverse employment actions concerning only the

persons identified as potential witnesses and comparators in this case.

       LHM SHALL COMPLY with this Order and deliver to Le (1) a full, complete, and

verified answer to interrogatory No. 12; and (2) all responsive documents in its possession and

control, subject to the exceptions discussed above, pertinent to RFP Nos. 2-6, 22-23, and 30-31 on

or before February 27, 2024. Also by that date, LHM shall promptly file proof of delivery.

       It is so ORDERED on February 6, 2024.



                                                 ______________________________________
                                                 Hal R. Ray, Jr.
                                                 UNITED STATES MAGISTRATE JUDGE




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